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& Complete items 1, 2, and 3. A Signature _ 2

_E¥ Agent

% Print your name and address on the reverse x #5 2p a

so that we cari réturn the card to you. You Lv LY [1] Addressee

™@ Attach this card to the back of the mailpiece, 8. ners by Printed Nar) , 1c. Date of Delivery
or on the front if space permits. Le “by L LSE SF. ALCL? { o7/iSj}a7-

1. Article Addressed to: D. Is delivery address different frofn item 1? [1 Yes

{f YES, enter delivery address below: CI No

3. Service Type 0 Priority Mail Express®
3 Adult Signature ( Registered Mail™
C Adult Signature Restricted Delivery 0 Registered Mail Restricted
O Certified Mai® Delivery
C Cextified Mail Restricted Delivery © Signature Confirmation™
G Collect on Delivery Q Signature Confirmation

2. Article Number (Transfer from service labe) O Collect on Delivery Restricted Delivery Restricted Delivery

ft insuwadd Mail

520 3160 0001 0558 3410 seemed Celene
PS Form 3811, July 2020 PsN 7530-02-000-9053 Domestic Return Receipt

@ Complete items 1, 2, and 3. A. Somme
® Print your name and address on the reverse 2 frre EkAgent
so that we can return the card to you. x f Kobllun Cee 3 C1] Addressee
® Attach this card to the back of the mailpiece, B. _Beceived by (Printed Name) we ay
or on the front if space permits. fi CALLA B= PFET. xe off [AP
1. Article Addressed to: D. is delivery address different from item 1? (I Yes

if YES, enter delivery address below: CI No

3. Service Type Ci Priority Mail Express®
C Adult Signature Cl Registered Mail™
O Adult Signature Restricted Delivery ( Registered Mail Restricted
0 Certified Maii@ Delivery
D Certified Mail Reshicted Delivery O Signature Confirmation
O Collect on Delivery i Signature Confirmation

2. Article Number {Tranciar fram caniire nha ™ Collect on Delivery Restricted Delivery Resiricted Delivery

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PS Form 381 1, _ duly: 2020 PSN 7530-02-000-9053 Domestic Return Receipt .

